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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA and
STATE OF CONNECTICUT,
ex rel. BRITTANY AMES MAHONEY,

             Plaintiffs.

       v.                                                      No. 3:15-cv-918(SRU)

COLUMBIA DENTAL PC;
COLUMBIA ORAL MAXILLOFACIAL IMAGING, L.L.C.;
ABBAS MOHAMMADI, D.D.S.

            Defendants.

                                      JUDGMENT

       This matter came on before the Honorable Stefan R. Underhill, United States

District Judge, as a result of motion for entry of judgment.

       The Court has reviewed all of the papers filed in conjunction with that motion and

considered the full record of the case including applicable principles of law. On

September 9, 2020, the Court entered an order in favor of the United States of America

against the defendants—Columbia Dental PC; Columbia Oral Maxillofacial Imaging,

L.L.C.; and Abbas Mohammadi—jointly and severally in the amount of $300,000. It is

therefore;

       ORDERED, ADJUDGED and DECREED that judgment is entered for the

plaintiffs against the defendants and the case is closed.

            Dated at Bridgeport, Connecticut, this 23d day of September 2020.

                                           Robin D. Tabora, Clerk


                                           By   /s/ Rochelle Jaiman
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                                            Deputy Clerk


ENTERED: 9/23/2020
